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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CONTINENTAL PAPER GRADING CO.,                     )
                                                   )
              Plaintiff,                           )
                                                   )
v.                                                 )      Civil Action No. 1:21-cv-224
                                                   )
NATIONAL RAILROAD PASSENGER                        )      Hon. Sharon Johnson Coleman
CORPORATION—AMTRAK,                                )
                                                   )
              Defendant.                           )

                MOTION FOR LEAVE TO WITHDRAW APPEARANCE
       Pursuant to Local Rule 83.17, Jenner & Block LLP hereby moves to withdraw the

appearance of attorney Leah M. Song on behalf of Defendant, National Railroad Passenger

Corporation—Amtrak (“Amtrak”). As of September 15, 2021, Ms. Song will no longer be

affiliated with Jenner & Block. Amtrak will continue to be represented by Allison A. Torrence

and Matthew G. Lawson of Jenner & Block.


 Dated: September 7, 2021               Respectfully submitted,

 Leah M. Song                           NATIONAL RAILROAD PASSENGER
 Jenner & Block LLP                     CORPORATION
 353 N. Clark Street
 Chicago, IL 60654-3456
 Phone: (312) 840-7399                  By: /s/ Leah M. Song
 LSong@jenner.com                              One of Its Attorneys
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                                  CERTIFICATE OF SERVICE

        I, Leah Song, hereby certify that on September 7, 2021, I electronically filed the

foregoing Motion for Leave to Withdraw Appearance via the Court’s CM/ECF system, which

will deliver electronic notice of filing to all counsel of record.

                                            /s/ Leah M. Song
                                            Leah M. Song
                                            Jenner & Block LLP
                                            353 N. Clark Street
                                            Chicago, IL 60654-3456
                                            Phone: (312) 840-7399
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